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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 CITRIX SYSTEMS, INC.,                             )
                                                   )
                   Plaintiff,                      )
                                                   )    C.A. No. 18-588-LPS
         v.                                        )
                                                   )    JURY TRIAL DEMANDED
 WORKSPOT, INC.,                                   )
                                                   )
                   Defendant.                      )

                           MOTION FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5 and the attached certification, counsel moves the admission

pro hac vice of Aaron B. Frumkin of Gibson Dunn & Crutcher LLP, 2029 Century Park East,

Suite 4000, Los Angeles, CA 90067 to represent Defendant Workspot, Inc. in this action.

                                                   POTTER ANDERSON & CORROON LLP

                                                   By: /s/ Stephanie E. O’Byrne
                                                         David E. Moore (#3983)
                                                         Bindu A. Palapura (#5370)
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 Dated: August 1, 2018                                   sobyrne@potteranderson.com
 5881954 / 45039
                                                   Attorneys for Defendant Workspot, Inc.


                                ORDER GRANTING MOTION

        IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.

Date: __________                                       ____________________________________
                                                             United States District Judge
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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the State of California and
pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged
misconduct which occurs in the preparation or course of this action. I also certify I am generally
familiar with this Court’s Local Rules.

         In accordance with Standing Order for District Court Fund effective 9/1/16, I further
certify that the annual fee of $25.00

              has been paid to the Clerk of the Court

              will be submitted to the Clerk’s Office upon the filing of this motion


Dated: August 1, 2018                        Signed: /s/ Aaron B. Frumkin
                                                     Aaron B. Frumkin
                                                     Gibson Dunn & Crutcher LLP
                                                     2029 Century Park East, Suite 4000
                                                     Los Angeles, CA 90067
                                                     Tel: (310) 552-8500
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